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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                               CASE NO.

  VICTOR ARIZA,

         Plaintiff,

  vs.


  SHOE CARNIVAL, INC.,
  a foreign for-profit corporation,

        Defendant.
  ________________________________/

                                             COMPLAINT

         Plaintiff VICTOR ARIZA, through undersigned counsel, sues Defendant SHOE

  CARNIVAL, INC., a foreign for-profit corporation, and alleges as follows:

         1.      This is an action for declaratory and injunctive relief, attorney’s fees, costs, and

  litigation expenses for unlawful disability discrimination in violation of Title III of the Americans

  with Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), as amended, and 28 C.F.R. Part 36.

  This is also an action for declaratory and injunctive relief to prevent the continuing act of trespass

  against the Plaintiff’s personal property (his personal computer), and for compensatory damages

  to Plaintiff for such trespass. Remedies provided under common law for trespass are not exclusive

  and may be sought in connection with suits brought under the ADA.

         2.      This Court has jurisdiction over this case based on federal question jurisdiction, 28

  U.S.C. §1331, and the provisions of the ADA. Plaintiff seeks declaratory and injunctive relief

  pursuant to 28 U.S.C. §§2201 and 2202. In addition, this Court has supplementary jurisdiction

  over Plaintiff’s common law tort claim pursuant to 28 U.S.C. §1367.



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         3.      Venue is proper in this Court as all actions complained of herein and injuries and

  damages suffered occurred in the Southern District of Florida.

         4.      Plaintiff VICTOR ARIZA is a resident of Miami-Dade County, Florida, is sui juris,

  and is disabled as defined by the ADA and ADA Amendments Act of 2008, 42 U.S.C. §12101

  (“ADAAA”).

         5.      Plaintiff is and at all relevant times has been blind and visually disabled in that he

  suffers from optical nerve atrophy, a permanent eye disease and medical condition that

  substantially and significantly impairs his vision and limits his ability to see. Plaintiff thus is

  substantially limited in performing one or more major life activities, including, but not limited to,

  seeing, accurately visualizing his world, and adequately traversing obstacles. As such, he is a

  member of a protected class under the ADA, 42 U.S.C. §12102(1)-(2), the regulations

  implementing the ADA set forth at 28 CFR §§36.101, et seq., and in 42 U.S.C. §3602(h). Plaintiff

  further is an advocate of the rights of similarly situated disabled persons and is a “tester” for the

  purposes of asserting his civil rights and monitoring, ensuring, and determining whether places of

  public accommodation and/or their respective and associated websites are in compliance with the

  ADA and any other applicable disability laws, regulations, and ordinances.

         6.      Because he is blind and visually disabled, Plaintiff cannot use his computer without

  the assistance of appropriate and available auxiliary aids, screen reader software, and other

  technology and assistance. Screen reader software translates the visual internet into an auditory

  equivalent. At a rapid pace, the software reads the content of a webpage to the user. “The screen

  reading software uses auditory cues to allow a visually impaired user to effectively use websites.

  For example, when using the visual internet, a seeing user learns that a link may be ‘clicked,’

  which will bring him to another webpage, through visual cues, such as a change in the color of the



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  text (often text is turned from black to blue). When the sighted user's cursor hovers over the link,

  it changes from an arrow symbol to a hand. The screen reading software uses auditory -- rather

  than visual -- cues to relay this same information. When a sight impaired individual reaches a link

  that may be ‘clicked on,’ the software reads the link to the user, and after reading the text of the

  link says the word ‘clickable.’…Through a series of auditory cues read aloud by the screen reader,

  the visually impaired user can navigate a website by listening and responding with his keyboard.”

  Andrews v. Blick Art Materials, LLC, 17-CV-767, 2017 WL 6542466, at *6-7 (E.D.N.Y. Dec. 21,

  2017).

           7.    Defendant is a foreign for-profit corporation authorized to do business and doing

  business in the State of Florida. Defendant owns, operates, and/or controls a chain of retail stores

  selling footwear and accessories, including one of the stores that Plaintiff intended to patronize in

  the near future located at 17970 NW 27th Avenue, Miami Gardens, Florida.

           8.    Plaintiff’s visual disability limits him in the performance of major life activities,

  including sight, and he requires assistive technologies, auxiliary aids, and services for effective

  communication, including communication in connection with his use of a computer.

           9.    Plaintiff frequently accesses the internet.      Because he is significantly and

  permanently blind and visually disabled, to effectively communicate and comprehend information

  available on the internet and thereby access and comprehend websites, Plaintiff uses commercially

  available screen reader software to interface with the various websites.

           10.   At all times material hereto, Defendant was and still is an organization that owns,

  operates, and/or controls a chain of retail stores selling footwear and accessories under the name

  “Shoe Carnival”. Each “Shoe Carnival” store is open to the public. As the owner and operator of

  these retail stores, Defendant is defined as a place of “public accommodation" within meaning of



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  Title III because Defendant is a private entity which owns and/or operates “a bakery, grocery store,

  clothing store, hardware store, shopping center, or other sales or rental establishment,” per 42

  U.S.C. §12181(7)(E) and 28 C.F.R. §36.104(2).

          11.     Because Defendant is a store open to the public, each of Defendant’s physical stores

  is a place of public accommodation subject to the requirements of Title III of the ADA, 42 U.S.C.

  §12182, §12181(7)(E), and its implementing regulation; 28 C.F.R. Part 36.

          12.     Defendant also controls, maintains, and/or operates an adjunct website,

  https://www.shoecarnival.com the “Website”). One of the functions of the Website is to provide

  the public information on the locations of Defendant’s stores through a “store locator” feature that

  identifies physical store locations that sell Defendant’s merchandise throughout the United States

  and within the State of Florida. Defendant also sells to the public its merchandise through the

  Website, which acts as a point of sale for merchandise available in, from, and through Defendant’s

  physical stores. In addition, Defendant’s website allows the public to purchase gift cards for use

  online and in the physical stores, and allows users to arrange for in-store pickups and returns of

  merchandise purchased online.

          13.     The Website also services Defendant’s physical stores by providing information on

  its available products, services, tips and advice, editorials, sales campaigns, events, and other

  information that Defendant is interested in communicating to its customers.

          14.     Because the Website allows the public the ability to secure information about the

  locations of Defendant’s physical stores, purchase merchandise also available for purchase in and

  from the physical stores, purchase gift cards for use online and in the physical stores, arrange

  online for in-store pickups and returns of merchandise, and sign up for an emailer to receive

  exclusive online offers, benefits, invitations, and discounts for use online and in the physical stores,



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  the Website has a nexus to, and is an extension of and gateway to, the goods, services, privileges,

  and advantages of Defendant’s physical stores, which are places of public accommodation under

  the ADA. As an extension of and service, privilege, and advantage provided by a place of public

  accommodation as defined under the ADA, the Website is an extension of the services, privileges,

  and advantages made available to the general public by Defendant at and through its brick-and-

  mortar locations and businesses. Furthermore, the Website is a necessary service and privilege of

  Defendant’s physical stores in that, as a point of sale for Defendant’s stores, it enables users of the

  Website to make online purchases of Defendant’s merchandise that is available from and in its

  physical stores.

         15.     Because the public can view and purchase Defendant’s goods through the Website

  that are also offered for sale in Defendant’s physical stores, thus having the Website act as a point

  of sale for Defendant’s products that are also sold in the physical stores, purchase gift cards to

  make purchases both online and in the physical stores, arrange in-store pickups and returns of

  merchandise purchased online, and sign up for an emailer to receive exclusive online offers,

  benefits, invitations, and discounts for use online and in the physical stores, the Website is an

  extension of, and gateway to the physical stores, which are places of public accommodation

  pursuant to the ADA, 42 U.S.C. §12181(7)(E). As such, the Website is a necessary service,

  privilege, and advantage of Defendant’s brick-and-mortar stores that must comply with all

  requirements of the ADA, must not discriminate against individuals with visual disabilities, and

  must not deny those individuals the same full and equal access to and enjoyment of the goods,

  services, privileges, and advantages afforded the non-visually disabled public both online and in

  the physical stores.




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         16.     At all times material hereto, Defendant was and still is an organization owning,

  operating, and/or controlling the Website. Since the Website is open to the public through the

  internet, by this nexus the Website is an intangible service, privilege, and advantage of Defendant’s

  brick-and-mortar stores that must comply with all requirements of the ADA, must not discriminate

  against individuals with visual disabilities, and must not deny those individuals the same full and

  equal access to and enjoyment of the goods, services, privileges, and advantages as are afforded

  the non-disabled public both online and in the physical stores. As such, Defendant has subjected

  itself and the Website to the requirements of the ADA.

         17.     Plaintiff is and has been a customer who is interested in patronizing, and intends to

  patronize in the near future once the Website’s access barriers are removed or remedied,

  Defendant’s physical stores (including the store located at 17970 NW 27th Avenue, Miami

  Gardens, Florida), and to search for the brick-and-mortar stores, check store hours and

  merchandise pricing, purchase merchandise and gift cards, arrange in-store pickups and returns of

  merchandise purchased online, and sign up for an emailer to receive exclusive offers, benefits,

  invitations, and discounts for use at the Website or in Defendant’s physical stores. In the

  alternative, Plaintiff intends to monitor the Website in the near future as a tester to ascertain

  whether it has been updated to interact properly with screen reader software.

         18.     The opportunity to shop and pre-shop Defendant’s merchandise, purchase gift cards

  online, arrange in-store pickups and returns, and sign up for an emailer to receive exclusive online

  offers, benefits, invitations, and discounts for use both online and in the physical stores from his

  home are important and necessary accommodations for Plaintiff because traveling outside of his

  home as a visually disabled individual is often a difficult, hazardous, frightening, frustrating, and

  confusing experience. Defendant has not provided its business information in any other digital



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  format that is accessible for use by blind and visually impaired individuals using the screen reader

  software.

         19.     Like many consumers, Plaintiff accesses a number of websites at a time to help plan

  his visits and to compare merchandise, prices, sales, discounts, and promotions. Plaintiff may look

  at several dozens of sites to compare features, discounts, promotions, and prices.

         20.     During the months of January and April 2022, Plaintiff attempted on a number of

  occasions to utilize the Website to browse through the merchandise and online offers to educate

  himself as to the merchandise, sales, discounts, and promotions being offered, learn about the

  brick-and-mortar stores, check store hours, and check merchandise pricing with the intent to

  making a purchase through the Website or in the physical stores. Plaintiff also attempted to access

  and utilize the Website in his capacity as a tester to determine whether it was accessible to blind

  and visually disabled persons such as himself who use screen reader software to access and

  navigate company websites.

         21.     Plaintiff utilizes available screen reader software that allows individuals who are

  blind and visually disabled to communicate with websites. However, Defendant’s Website

  contains access barriers that prevent free and full use by blind and visually disabled individuals

  using keyboards and available screen reader software. These barriers are pervasive and include,

  but are not limited to:

                 a. Return to home page button/company logo is mislabeled;

                 b. The submenus are inaccessible when navigating with a keyboard;

                 c. While browsing for multiple products, the “View All Colors” is
                 inaccessible;

                 d. Inside the shopping cart, item price, subtotal, shipping standard, sales
                 tax, and order total are not accessible;



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                 e. Once an item is removed from the shopping cart, there is no notification
                 that the action was executed;

                 f. The options to ship it, pick up in store and same day delivery are not
                 fully accessible options. It defaults to ship it;

                 g. Text throughout the website is not properly labeled; the cursor skips
                 the information and navigates to the nearest link, button, or header.

                 h. The size width option is mislabeled as “cap M”; and

                 i. The notification that an item has been added to the shopping cart is not labeled.

         22.     The Website also lacks prompting information and accommodations necessary to

  allow visually disabled individuals who use screen reader software to locate and accurately fill

  out online forms to purchase Defendant’s merchandise from the Website.

         23.     Plaintiff attempted to locate an “accessibility” notice, statement, or policy on the

  Website that would direct him to a webpage with contact information for disabled individuals who

  have questions or concerns about, or who are having difficulties communicating with, the Website.

  Although the Website appeared to have an “accessibility” statement displayed, that “accessibility”

  statement still could not be effectively and quickly accessed by, and continued to be a barrier to,

  blind and visually disabled persons, including Plaintiff. Plaintiff, thus, was unable to receive any

  meaningful or prompt assistance through the “accessibility” statement to enable him to quickly,

  fully, and effectively navigate the Website.

         24.     The fact that Plaintiff could not communicate with or within the Website left him

  feeling excluded, as he is unable to participate in the same shopping experience, with the same

  access to the merchandise, sales, discounts, and promotions, as provided at the Website and in the

  physical stores as the non-visually disabled public.

         25.     Plaintiff desires and intends, in the near future once the Website’s access barriers

  are removed or remedied, to patronize one or more of Defendant’s physical stores and to use the

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  Website, but he is presently unable to fully do so as he is unable to effectively communicate with

  Defendant due to his severe visual disability and the Website’s access barriers. Alternatively, as

  a tester using scree reader software, Plaintiff is unable to effectively access, navigate, and

  communicate with Defendant through the Website due to his severe blindness and visual disability

  and the Website’s access barriers. Thus, Plaintiff, as well as others who are blind and with visual

  disabilities, will suffer continuous and ongoing harm from Defendant’s intentional acts, omissions,

  policies, and practices as set forth herein unless properly enjoined by this Court.

          26.     Because of the nexus between Defendant’s retail stores and the Website, and the

  fact that the Website clearly provides support for and is connected to Defendant’s retail stores for

  its operation and use, the Website is an intangible service, privilege, and advantage of Defendant’s

  brick-and-mortar stores that must comply with all requirements of the ADA, must not discriminate

  against individuals with disabilities, and must not deny those individuals the same full and equal

  access to and enjoyment of the goods, services, privileges, and advantages as afforded the non-

  visually disabled public both online and in the physical stores, which are places of public

  accommodation subject to the requirements of the ADA.

          27.     On information and belief, Defendant has not initiated a Web Accessibility Policy

  to ensure full and equal use of the Website by individuals with disabilities.

          28.     On information and belief, Defendant has not instituted a Web Accessibility

  Committee to ensure full and equal use of Website by individuals with disabilities.

          29.     On information and belief, Defendant has not designated an employee as a Web

  Accessibility Coordinator to ensure full and equal use of the Website by individuals with

  disabilities.




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          30.     On information and belief, Defendant has not instituted a Web Accessibility User

  Accessibility Testing Group to ensure full and equal use of the Website by individuals with

  disabilities.

          31.     On information and belief, Defendant has not instituted a User Accessibility

  Testing Group to ensure full and equal use of the Website by individuals with disabilities.

          32.     On information and belief, Defendant has not instituted a Bug Fix Priority Policy.

          33.     On information and belief, Defendant has not instituted an Automated Web

  Accessibility Testing program.

          34.     Defendant has not created and instituted a Specialized Customer Assistance line or

  service or email contact mode for customer assistance for the visually disabled.

          35.     Defendant has not created and instituted on the Website a page for individuals with

  disabilities, nor displayed a link and information hotline, nor created an information portal

  explaining when and how Defendant will have the Website, applications, and digital assets

  accessible to the visually disabled or blind community.

          36.     The Website does not meet the Web Content Accessibility Guidelines (“WCAG”)

  2.0 Level AA or higher versions of web accessibility.

          37.     Defendant has not disclosed to the public any intended audits, changes, or lawsuits

  to correct the inaccessibility of the Website to visually disabled individuals who want the safety

  and privacy of purchasing Defendant’s merchandise offered on the Website from their homes.

          38.     Thus, Defendant has not provided full and equal access to and enjoyment of the

  goods, services, facilities, privileges, advantages, and accommodations provided by and through

  the Website in contravention of the ADA.




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            39.   Further, public accommodations under the ADA must ensure that their places of

  public accommodation provide effective communication for all members of the general public,

  including individuals with visual disabilities such as Plaintiff.

            40.   The broad mandate of the ADA is to provide an equal opportunity for individuals

  with disabilities to participate in and benefit from all aspects of American civic and economic life.

  That mandate extends to internet shopping websites, such as the Website at issue in the instant

  action.

            41.   Defendant is, and at all relevant times has been, aware of the barriers to effective

  communication within the Website which prevent individuals with visual disabilities from the

  means to comprehend information presented therein.

            42.   Defendant is, and at all relevant times has been, aware of the need to provide full

  access to all visitors to the Website.

            43.   The barriers that exist on the Website result in discriminatory and unequal

  treatment of individuals with visual disabilities, including Plaintiff.

            44.   Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

  alleged hereinabove, and this suit for declaratory judgment and injunctive relief is his only means

  to secure adequate and complete redress from Defendant’s unlawful and discriminatory practices

  in connection with its website access and operation.

            45.   Notice to Defendant is not required because of Defendant’s failure to cure the

  violations.

            46.   Enforcement of Plaintiff’s rights under the ADA is right and just pursuant to 28

  U.S.C. §§2201 and 2202.




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         47.     Plaintiff has retained the undersigned attorneys to represent him in this case and

  has agreed to pay them a reasonable fee for their services.

                                         Trespass Violations

         48.     Plaintiff utilizes his computer to access websites such as the Website.

         49.     Plaintiff uses his computer as a method of conveyance of his personal information.

  Plaintiff thus stores his personal information and retains his browsing history on his computer.

         50.     When a user accesses the Website, Defendant places information tracking and

  gathering software on the user’s personal computer and hard drive without the user’s advance

  consent or knowledge. Defendant also plants browser cookies on a user’s computer and hard drive

  to identify websites that the user has previously visited by accessing the user’s web browser

  history.

         51.     Defendant informs the Website user that the user’s personal information and

  browsing history is collected and is used for targeted marketing and advertising.           However,

  because of his blindness, Plaintiff was unable to comprehend the Website; therefore, Plaintiff had

  no choice, and likewise no knowledge, of Defendant’s installation of data and information tracking

  and gathering software on his computer and the collection of Plaintiff’s browsing history and

  analytics.

         52.     Thus, through the Website, Defendant has committed a trespass against Plaintiff,

  since the Website places information tracking and gathering software on the Plaintiff’s computer

  without Plaintiff’s knowledge or consent.

                             COUNT I – VIOLATION OF THE ADA

         53.     Plaintiff re-alleges paragraphs 1 through 47 as if set forth fully herein.




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         54.     Pursuant to 42 U.S.C. §12181(7)(E), Defendant is a public accommodation under

  the ADA and thus is subject to the ADA.

         55.     Pursuant to 42 U.S.C. §12181(7)(E), the Website is covered under the ADA

  because it provides the general public with the ability to locate and learn about Defendant’s stores,

  purchase merchandise that is also available for purchase in the physical stores, purchase gift cards

  for use both online and in the physical stores, arrange in-store pickups and returns of merchandise

  purchased online, and sign up for an emailer to receive exclusive online offers, benefits,

  invitations, and discounts for use both online and in the physical stores. The Website thus is an

  extension of, gateway to, and intangible service, privilege, and advantage of Defendant’s physical

  stores. Further, the Website also serves to augment Defendant’s physical stores by providing the

  public information about the physical stores and by educating the public as to Defendant’s

  available merchandise sold through the Website and in the physical stores.

         56.     Under Title III of the ADA, 42 U.S.C. §12182(b)(1)(A)(II), it is unlawful

  discrimination to deny individuals with disabilities or a class of individuals with disabilities an

  opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

  or accommodation, which is equal to the opportunities afforded to other individuals.

         57.     Specifically, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(II), unlawful

  discrimination includes, among other things, “a failure to make reasonable modifications in

  policies, practices, or procedures, when such modifications are necessary to afford such goods,

  services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

  unless the entity can demonstrate that making such modifications would fundamentally alter the

  nature of such goods, services, facilities, privileges, advantages or accommodations.”




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         58.     In addition, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(III), unlawful

  discrimination includes, among other things, “a failure to take such steps, as may be necessary to

  ensure that no individual with a disability is excluded, denied services, segregated or otherwise

  treated differently than other individuals because of the absence of auxiliary aids and services,

  unless the entity can demonstrate that taking such steps would fundamentally alter the nature of

  the good, service, facility, privilege, advantage, or accommodation being offered or would result

  in an undue burden.”

         59.     Defendant’s Website must comply with the ADA, but it does not as specifically

  alleged hereinabove and below.

         60.     Because of the inaccessibility of the Website, individuals with visual disabilities

  are denied full and equal access to and enjoyment of the goods, information, and services that

  Defendant has made available to the public on its Website and in its physical stores in violation of

  42 U.S.C. §12101, et seq, and as prohibited by 42 U.S.C. §12182, et seq.

         61.     The Website was subsequently visited by Plaintiff’s expert in January 2022 and

  April 2022, and the expert determination both times was that the same access barriers that Plaintiff

  had initially encountered, as well as numerous additional access barriers, existed. Despite being a

  defendant in several prior ADA accessibility lawsuits, which likely resulted in confidential

  settlement agreements that obligated Defendant to fully remediate the Website, Defendant has

  made insufficient material changes or improvements to the Website to enable its full use and

  enjoyment by, and accessibility to, blind and visually disabled persons such as Plaintiff. Also,

  when the Website was visited by the expert, although the Website appeared to have an

  “accessibility” statement on its home page, that “accessibility” statement still could not be

  effectively and quickly used or accessed by, and continued to be a barrier to, blind and visually



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  disabled persons such as Plaintiff. Defendant thus has failed to make reasonable modifications in

  its policies, practices, or procedures when such modifications are necessary to afford goods,

  services, facilities, privileges, advantages, or accommodations to individuals with disabilities, in

  violation of 28 C.F.R. §36.302. The lack of a viable and effective “accessibility” notice, policy,

  or statement and the numerous access barriers as set forth in the Declaration of Plaintiff’s expert,

  Robert D. Moody, attached hereto as Composite Exhibit “A” and the contents of which are

  incorporated herein by reference, continue to render the Website not fully accessible to users who

  are blind and visually disabled, including Plaintiff.

         62.     More violations may be present on other pages of the Website, which can and will

  be determined and proven through the discovery process in this case.

         63.     There are readily available, well-established guidelines on the internet for making

  Websites accessible to the blind and visually disabled. These guidelines have been followed by

  other large business entities in making their websites accessible. Examples of such guidelines

  include, but are not limited to, adding alt-text to graphics and ensuring that all functions can be

  performed using a keyboard. Incorporating such basic components to make the Website accessible

  would neither fundamentally alter the nature of Defendant’s business nor would it result in an

  undue burden to Defendant.

         64.     Defendant has violated the ADA -- and continues to violate the ADA -- by denying

  access to the Website by individuals such as Plaintiff with visual disabilities who require the

  assistance of interface with screen reader software to comprehend and access internet websites.

  These violations within the Website are ongoing.

         65.     The ADA requires that public accommodations and places of public

  accommodation ensure that communication is effective.



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         66.     According to 28 C.F.R. §36.303(b)(1), auxiliary aids and services include “voice,

  text, and video-based telecommunications products and systems”. Indeed, 28 C.F.R. §36.303(b)(2)

  specifically states that screen reader software is an effective method of making visually delivered

  material available to individuals who are blind or have low vision.

         67.     According to 28 C.F.R. §36.303(c), public accommodations must furnish

  appropriate auxiliary aids and services where necessary to ensure effective communication with

  individuals with disabilities: “In order to be effective, auxiliary aids and services must be provided

  in accessible formats, in a timely manner, and in such a way as to protect the privacy and

  independence of the individual with a disability,” 28 C.F.R. §36.303(c)(1)(ii).

         68.     Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

  subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by

  public accommodations, and requires places of public accommodation to be designed, constructed,

  and altered in compliance with the accessibility standards established by Part 36.

         69.     As alleged hereinabove, the Website has not been designed to interface with the

  widely and readily available technologies that can be used to ensure effective communication, and

  thus violates the ADA.

         70.     As a direct and proximate result of Defendant’s failure to provide an ADA

  compliant Website, with a nexus to its brick-and-mortar physical store locations, Plaintiff has

  suffered an injury in fact by being denied full access to, enjoyment of, and communication with

  Defendant’s Website and its physical stores.

         71.     Because of the inadequate development and administration of the Website, Plaintiff

  is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and 28 C.F.R. §36.303, to remedy the

  ongoing disability discrimination.



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         72.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

  Plaintiff appropriate and necessary injunctive relief, including an order to:

         a) Require Defendant to adopt and implement a web accessibility policy to make publicly

  available and directly link from the homepage of the Website to a functional statement as to the

  Defendant’s policy to ensure persons with disabilities have full and equal access to and enjoyment

  of the goods, services, facilities, privileges, advantages, and accommodations through the Website.

         b) Require Defendant to take the necessary steps to make the Website readily accessible

  to and usable by blind and visually disabled users, and during that time period prior to the

  Website’s being made readily accessible, provide an alternative method for individuals with visual

  disabilities to access the information available on the Website until such time that the requisite

  modifications are made, and

         c) Require Defendant to provide the appropriate auxiliary aids such that individuals with

  visual disabilities will be able to effectively communicate with the Website for purposes of

  viewing and locating Defendant’s physical stores and becoming informed of and purchasing

  Defendant’s merchandise, and during that time period prior to the Website’s being designed to

  permit individuals with visual disabilities to effectively communicate, to provide an alternative

  method for individuals with visual disabilities to effectively communicate for such goods and

  services made available to the general public through the Website.

         73.     Plaintiff is entitled to recover his reasonable attorney’s fees, costs, and expenses

  pursuant to the ADA. To that end, Plaintiff has been obligated to retain the undersigned counsel

  for the filing and prosecution of this action and has agreed to pay them a reasonable fee for their

  services.




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         WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

  the following relief:

         A. A declaration that Defendant’s Website is in violation of the ADA;

         B. An Order requiring Defendant, by a date certain, to update the Website, and continue

             to monitor and update the Website on an ongoing basis, to remove barriers in order that

             individuals with visual disabilities can access, and continue to access, the Website and

             effectively communicate with the Website to the full extent required by Title III of the

             ADA;

         C. An Order requiring Defendant, by a date certain, to clearly display the universal

             disabled logo within the Website, wherein the logo1 would lead to a page which would

             state Defendant’s accessibility information, facts, policies, and accommodations. Such

             a clear display of the disabled logo is to ensure that individuals who are disabled are

             aware of the availability of the accessible features of the Website;

         D. An Order requiring Defendant, by a date certain, to provide ongoing support for web

             accessibility by implementing a website accessibility coordinator, a website application

             accessibility policy, and providing for website accessibility feedback to ensure

             compliance thereto;

         E. An Order directing Defendant, by a date certain, to evaluate its policies, practices and

             procedures toward persons with disabilities, for such reasonable time to allow

             Defendant to undertake and complete corrective procedures to its Website;




  1
                      or similar.
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        F. An Order directing Defendant, by a date certain, to establish a policy of web

           accessibility and accessibility features for the Website to ensure effective

           communication for individuals who are visually disabled;

        G. An Order requiring, by a date certain, that any third-party vendors who participate on

           Defendant’s Website to be fully accessible to the visually disabled;

        H. An Order directing Defendant, by a date certain and at least once yearly thereafter, to

           provide mandatory web accessibility training to all employees who write or develop

           programs or code for, or who publish final content to, the Website on how to conform

           all web content and services with ADA accessibility requirements and applicable

           accessibility guidelines;

        I. An Order directing Defendant, by a date certain and at least once every three months

           thereafter, to conduct automated accessibility tests of the Website to identify any

           instances where the Website is no longer in conformance with the accessibility

           requirements of the ADA and any applicable accessibility guidelines, and further

           directing Defendant to send a copy of the twelve (12) quarterly reports to Plaintiff’s

           counsel for review;

        J. An Order directing Defendant, by a date certain, to make publicly available and directly

           link from the Website homepage, a statement of Defendant’s Accessibility Policy to

           ensure the persons with disabilities have full and equal enjoyment of the Website and

           shall accompany the public policy statement with an accessible means of submitting

           accessibility questions and problems;

        K. An award to Plaintiff of her reasonable attorney’s fees, costs and expenses; and

        L. Such other and further relief as the Court deems just and equitable.



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                                       COUNT II – TRESPASS

          74.     Plaintiff re-alleges paragraphs 1 through 52 as if set forth fully herein.

          75.     Plaintiff’s tangible personal property, being his computer and the personal

  information and browsing history stored therein, has suffered a trespass by Defendant on each and

  every date that the Plaintiff has accessed Defendant’s Website, due to Defendant’s employment of

  information tracking and gathering software and analytics which are present on and through the

  Website.

          76.     At all relevant times, Plaintiff did not consent to and was unaware that the Website

  was placing the information tracking and gathering software on his computer and its hard drive

  due to his visual disability and his inability to effectively communicate with and fully view and

  access the Website.

          77.     Plaintiff did not consent to the placement of information tracking and gathering

  software on his computer and its hard drive; therefore, Defendant has committed a trespass against

  Plaintiff by placing such software on his computer and its hard drive without his knowledge or

  consent.

          78.     By the acts described hereinabove, Defendant has repeatedly and persistently

  engaged in trespass of Plaintiff’s personal property in violation of Florida common law against

  trespass to chattel.

          79.     Defendant’s installation, operation, and execution of information tracking and

  gathering software on Plaintiff’s computer have directly and proximately impaired the condition

  and value of the Plaintiff’s computer, thereby causing Plaintiff damages.

          80.     The Website has a “Privacy Policy” that discusses the automatic gathering of

  information from and the automatic placement of cookies and other information gathering software



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  on, computers of users of the Website such as Plaintiff. A copy of that “Privacy Policy” is attached

  hereto as Exhibit “B” and its contents are incorporated herein by reference.

         81.       Defendant’s trespass to chattel, nuisance, and interference has caused real and

  substantial damage to Plaintiff as follows:

         a)    By consuming the resources of and/or degrading the performance of Plaintiff’s

  computer (including space, memory, processing cycles, and internet connectivity);

         b) By infringing on Plaintiff’s right to exclude others from his computer;

         c) By infringing on Plaintiff’s right to determine, as the owner of his computer , which

  programs should be installed and operated on his computer;

         d) By compromising the integrity, security, and ownership of Plaintiff’s computer ; and

         e) By forcing Plaintiff to expend money, time, and resources in order to remove the

  programs that had been installed on his computer without notice or consent.

         82.       Defendant’s actions were taken knowingly, willfully, intentionally, and in reckless

  disregard for Plaintiff’s rights under the law.

         WHEREFORE, Plaintiff demands a judgment be entered against Defendant for all of

  Plaintiff’s compensatory damages, interest, costs, and such further relief as the Court deems just

  and equitable.

         DATED: May 20th , 2022.




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